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 1   ROBERT E. ATKINSON
     CHAPTER 7 BANKRUPTCY TRUSTEE
 2
     376 E. Warm Springs Rd Suite 130
 3   Las Vegas, NV 89119
     Telephone: (702) 617-3200
 4   Email: Robert@ch7.vegas
 5
                                 UNITED STATES BANKRUPTCY COURT
 6                                  FOR THE DISTRICT OF NEVADA

 7   In re:                                                 Case No. 20-21-14486-abl
 8
                                                            Chapter 7
     INFINITY CAPITAL MANAGEMENT, INC.
 9   dba INFINITY HEALTH CONNECTIONS,                       NOTICE OF HEARING
10                    Debtor.                               Hearing Date:       December 1, 2022
11
                                                            Hearing Time:       11:00 a.m.

12                                                          Location: TELEPHONIC HEARING ONLY
13
                                                            Phone number:         (669) 254-5252
14                                                          Meeting ID:           161 418 4644
                                                            Participant ID:       None
15                                                          Meeting passcode:     758337
16

17   TO: ALL PARTIES IN INTEREST and THEIR COUNSEL OF RECORD:
18            NOTICE IS HEREBY GIVEN that an application entitled FIRST AND FINAL
19   APPLICATION OF ATKINSON LAW ASSOCIATES LTD. FOR COMPENSATION AND
20   REIMBURSEMENT OF EXPENSES INCURRED WHILE GENERAL COUNSEL FOR THE
21   TRUSTEE [DE #255] (the “Application”) was filed on October 24, 2022 by Robert E. Atkinson,
22   the trustee for the above-captioned bankruptcy estate (“Trustee”). The Application seeks the
23   allowance of an administrative claim, on a final basis, to Atkinson Law Associates, Ltd. (“ALA”)
24   for its work as the Trustee’s general counsel in this case, and specifically for fees in the amount of
25   $29,074.00 and expenses in the amount of $1,663.59.
26            NOTICE IS FURTHER GIVEN that the hearing on the Application will be held before a
27   U.S. Bankruptcy Judge at the time and place specified in the caption to this document. This
28   hearing may be continued from time to time without further notice to you.



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           NOTICE IS FURTHER GIVEN that a copy of the Application may be obtained from
 2
     either: (i) the Bankruptcy Clerk located on the Fourth Floor of the Foley Federal Building, 300 Las
 3
     Vegas Boulevard South Las Vegas, Nevada 89101; or (ii) by contacting the Trustee’s office
 4
     Robert Atkinson at either (702) 617-3200 or by email at robert@ch7.vegas.
 5
           NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief
 6
     sought in the Application, or if you want the court to consider your views on the Application, then
 7
     you must file an opposition with the court, and serve a copy to Trustee’s counsel no later than 14
 8
     days preceding the hearing date for the Application, unless an exception applies (see Local Rule
 9
     9014(d)(3)). The opposition must state your position, set forth all relevant facts and legal
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     authority, and be supported by affidavits or declarations that conform to LR 9014(c).
11
       If you object to the relief requested you must file a WRITTEN response to this pleading with
12
       the court. You must also serve your written response on the person who sent you this notice.
13
       If you do not file a written response with the court, or if you do not serve your written
14     response on the person who sent you this notice, then:
15
             •   The court may refuse to allow you to speak at the scheduled hearing; and
16
             •   The court may rule against you without formally calling the matter at the hearing.
17

18
     DATED: October 24, 2022
19
                                                         By:     /s/ Robert E. Atkinson
20                                                        ROBERT E. ATKINSON
                                                          CHAPTER 7 BANKRUPTCY TRUSTEE
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